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                              Exhibit 6
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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Hillblom, Douglas B.                                     September 23, 2008
                                 Sacramento, CA

                                                                               Page 1
                   UNITED STATES DISTRICT COURT

                    DISTRICT OF MASSACHUSETTS

    IN RE PHARMACEUTICAL INDUSTRY

    AVERAGE WHOLESALE PRICE

    LITIGATION

    ___________________________/

    THIS DOCUMENT RELATES TO         MDL No. 1456

    State of California, ex rel.     Civil Action:

    Ven-A-Care v. Abbott             01-12258-PBS

    Laboratories, Inc., et al.

    ____________________________/



                               --oOo--

                   TUESDAY, SEPTEMBER 23, 2008

                               --oOo--

                     VIDEOTAPED DEPOSITION OF

                       DOUGLAS B. HILLBLOM

                               --oOo--



    Reported By:   CAROL NYGARD DROBNY, CSR No. 4018

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                                                                             Page 93
  1
      discussions where the concept of using invoices as
  2
      a basis for reimbursement for pharmacy dispensed
  3
      prescription drugs was the topic of conversation?
  4
               A.     Not what I would call a "discussion" --
  5
      a flippant remark maybe.
  6
               Q.     By whom?
  7
               A.     I can't recall.
  8
               Q.     Did you ever make that kind of a
  9
      flippant remark?
10
               A.     Not that I recall.
11
               Q.     Recall ever considering why it wasn't --
12
      why wasn't it possible to reimburse prescription
13
      drugs on the same basis as blood clotting factors,
14
      for example?
15
                      MR. PAUL:      Objection to form.
16
                      THE WITNESS:       Pharmacy reimbursement is a
17
      multi-component item.
18
                      Cost of the drug product is only one
19
      component.
20
      BY MR. BUEKER:
21
               Q.     The other component is dispensing fee;
22
      correct?

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                                                                             Page 94
  1
               A.     Correct.
  2
               Q.     And that's a rate that was set
  3
      independently of the ingredient cost reimbursement
  4
      rate; is that fair?
  5
               A.     Yes.
  6
               Q.     And together the two had to total
  7
      something that the Department considered
  8
      reasonable; right?
  9
               A.     Yes.
10
               Q.     But in terms of the actual calculation
11
      of the two components, the calculation of the two
12
      components, that portion of it was done separately?
13
               A.     Yes.
14
               Q.     So it would have been possible to
15
      calculate the ingredient cost rates in a -- in a
16
      different way?
17
                      MR. PAUL:      Objection to form.
18
                      THE WITNESS:       Could you please clarify
19
      what you mean by "different form."
20
      BY MR. BUEKER:
21
               Q.     Yeah.
22
                      It would have been possible to calculate

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                                                                           Page 348
  1
               Q.     To your knowledge did the -- during your
  2
      time at the Department of Health Services did the
  3
      Department of Health Services have an expectation
  4
      that drug manufacturers would report the AWPs to
  5
      First DataBank honestly and truthfully?
  6
                      MR. BUEKER:       Objection to form.
  7
                      MS. BERWANGER:        Objection to form.
  8
                      MR. ROBBEN:       I thought he wasn't a
  9
      30(b)(6) witness.
10
                      THE WITNESS:       My understanding is that
11
      the expectation of the Department was that the --
12
      the data supplied was the appropriate data, that it
13
      was accurate.
14
      BY MR. PAUL:
15
               Q.     To your knowledge has any pharmaceutical
16
      manufacturer ever sent -- during your tenure at DHS
17
      ever sent DHS written information stating what the
18
      manufacturer's AWP was based on?
19
               A.     No.
20
               Q.     So that would -- your answer would
21
      obviously apply to Mylan, Sandoz, Geneva, Dey,
22
      Warrick, and Schering, since they're drug

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